   Case
MIED         2:11-cr-20455-DML-LJM
     (Rev. 8/07) Notice of Correction            ECF No. 127 filed 07/16/20                PageID.535         Page 1 of 1

                                            UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF MICHIGAN

United States of America


                   Plaintiff(s),                                           Case No. 11-20455

v.                                                                         Judge David M. Lawson

John McDonald Lawrence                                                     Magistrate Judge


                   Defendant(s).
                                                          /

                                                  NOTICE OF CORRECTION

         Docket entry number       127 , filed      Jully 16, 2020         , has been modified. The explanation for the correction

is stated below.

               The docket entry was made on the wrong case.
               The corresponding document image was missing or incomplete.
               The wrong document image was associated.
               The wrong judicial officer was listed on the case docket.
               The filer information was inaccurate or omitted from the docket text.
               The judicial officer information was inaccurate or omitted from the docket text.
               The docket text was changed to include the Partial Payment Order.
          ✔    Other: Docketing Error



         If you need further clarification or assistance, please contact        Kristen MacKay           at (313) 234-5027 .



                                                                     DAVID J. WEAVER, CLERK OF COURT


Dated: July 17, 2020                                                 s/Kristen MacKay
                                                                     Deputy Clerk
